                                                                             Case 3:19-cv-07651-EMC       Document 291   Filed 10/08/21   Page 1 of 3


                                                                         1   Andrew P. Holland/Bar No. 224737
                                                                             aholland@thoits.com
                                                                         2   Nathaniel H. Lipanovich/Bar No. 292283
                                                                             nlipanovich@thoits.com
                                                                         3   THOITS LAW
                                                                             A Professional Corporation
                                                                         4   400 Main Street, Suite 250
                                                                             Los Altos, California 94022
                                                                         5   Telephone: (650) 327-4200
                                                                             Facsimile: (650) 325-5572
                                                                         6
                                                                             Attorneys for Defendant
                                                                         7   DSS Technology Management, Inc.
                                                                         8

                                                                         9                              UNITED STATES DISTRICT COURT
                                                                        10                          NORTHERN DISTRICT OF CALIFORNIA
                                                                        11

                                                                        12   INTEL CORPORATION ET AL.,                     Case No.: 3:19-cv-07651-EMC
                                          Los Altos, California 94022
                                          400 Main Street, Suite 250
             A PROFESSIONAL CORPORATION




                                                                        13                Plaintiffs,                      JOINT STIPULATION AND
                                                                                                                           [PROPOSED] ORDER TO EXTEND
                                                (650) 327-4200
THOITS LAW




                                                                        14   v.
                                                                                                                           DEADLINE FOR DEFENDANT DSS
                                                                        15   FORTRESS INVESTMENT GROUP LLC,                TECHNOLOGY MANAGEMENT,
                                                                             ET AL.,                                       INC. TO SEEK FEES AND COSTS
                                                                        16
                                                                                          Defendants.
                                                                        17

                                                                        18

                                                                        19

                                                                        20

                                                                        21

                                                                        22

                                                                        23

                                                                        24

                                                                        25

                                                                        26

                                                                        27

                                                                        28


                                                                             40041.001
                                                                                                    STIPULATION AND [PROPOSED] ORDER
                                                                             Case 3:19-cv-07651-EMC           Document 291        Filed 10/08/21      Page 2 of 3


                                                                         1          Pursuant to Local Rule 6-2 and 54-5(a), Defendant DSS Technology Management, Inc.
                                                                         2   (“DSS”) and Plaintiff Intel Corporation (“Intel”), by and through their respective counsel and
                                                                         3   subject to the Court’s approval, submit this stipulation to extend the deadline for DSS to file a
                                                                         4   motion or application for attorneys’ fees and costs to October 26, 2021.
                                                                         5          The parties state as follows:
                                                                         6          1.      WHEREAS, the Court entered Judgment in this case on September 28, 2021. ECF
                                                                         7   No. 286;
                                                                         8          2.      WHEREAS, DSS has indicated it will seek attorneys’ fees and costs, including
                                                                         9   pursuant to a prior settlement agreement between DSS and Intel;
                                                                        10          3.      WHEREAS, pursuant to Federal Rule of Civil Procedure 54, the deadline for DSS to
                                                                        11   file a motion or application for attorneys’ fees and costs is currently October 12, 2021;
                                                                        12          4.      WHEREAS, DSS and Intel seek an extension to this deadline to provide the parties
                                          Los Altos, California 94022
                                          400 Main Street, Suite 250
             A PROFESSIONAL CORPORATION




                                                                        13   additional time to meet and confer pursuant to Local Rule 54-5.
                                                (650) 327-4200
THOITS LAW




                                                                        14          5.      WHEREAS, this deadline has not been previously extended and the proposed
                                                                        15   extension will not impact any other case deadlines, as the case is closed.
                                                                        16          THEREFORE, IT IS HEREBY STIPULATED by and between DSS and Intel, and subject
                                                                        17
                                                                             to the Court’s approval, that DSS shall have until October 26, 2021 to file a motion or application
                                                                        18
                                                                             for attorneys’ fees and costs.
                                                                        19

                                                                        20   Dated: October 8, 2021
                                                                                                                                   WILMER HALE
                                                                        21

                                                                        22                                                  By:    /s/ Timothy Syrett
                                                                                                                                   Timothy Syrett
                                                                        23                                                         Attorneys for Plaintiff
                                                                                                                                   Intel Corporation
                                                                        24
                                                                             Dated: October 8, 2021
                                                                        25                                                         THOITS LAW
                                                                        26
                                                                                                                            By:    /s/ Nathaniel Lipanovich
                                                                        27                                                         Nathaniel Lipanovich
                                                                                                                                   Attorneys for Defendant
                                                                        28                                                         DSS Technology Management, Inc.


                                                                              40041.001                                  1
                                                                                                       STIPULATION AND [PROPOSED] ORDER
                                                                             Case 3:19-cv-07651-EMC           Document 291        Filed 10/08/21      Page 3 of 3


                                                                         1
                                                                                                                           ORDER
                                                                         2

                                                                         3   PURSUANT TO STIPULATION, IT IS SO ORDERED that DSS Technology Management, Inc.
                                                                         4   shall have until October 26, 2021 to file any motion or application for fees and costs.
                                                                         5

                                                                         6
                                                                                    October 8, 2021
                                                                             Dated: _________________
                                                                         7
                                                                                                                           __________________________________________
                                                                         8
                                                                                                                           UNITED STATES DISTRICT COURT JUDGE
                                                                         9

                                                                        10

                                                                        11

                                                                        12
                                          Los Altos, California 94022
                                          400 Main Street, Suite 250
             A PROFESSIONAL CORPORATION




                                                                        13
                                                (650) 327-4200
THOITS LAW




                                                                        14

                                                                        15

                                                                        16

                                                                        17

                                                                        18

                                                                        19

                                                                        20

                                                                        21

                                                                        22

                                                                        23

                                                                        24

                                                                        25

                                                                        26

                                                                        27

                                                                        28


                                                                              40041.001                                  2
                                                                                                       STIPULATION AND [PROPOSED] ORDER
